
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0094-08






STEVEN SANCHEZ, Appellant



v.



THE STATE OF TEXAS





ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FIRST COURT OF APPEALS


HARRIS  COUNTY





		Johnson, J., filed a concurring opinion in which Holcomb and
Cochran, JJ., joined.


C O N C U R R I N G   O P I N I O N 



Therapeutic level-With most medications, you need a certain level of drug in your
bloodstream to obtain the desired effect. Some medications are harmful if the level
rises too high and do not work if the levels are too low.


Monitoring the amount of the drug found in your blood allows your health care
provider to make sure the drug levels are within an effective range. (1)


	The statute at issue here requires, in a codeine mixture, the presence of a non-narcotic active
ingredient in a sufficient proportion to confer on the mixture in question "valuable medicinal
qualities other than those possessed by the narcotic drug alone."  Translated from the English, the
statute requires that the mixture have enough of the non-narcotic active ingredient that the non-narcotic is at a therapeutic level.  If the mixture contains codeine, but not enough non-narcotic active
ingredient to confer a medicinal quality, then the exception does not apply and the penalty group
changes, and the penalty range increases-possibly from a Class B misdemeanor to a first-degree
felony, depending on the amount of codeine.

	In this case, because the chemist testified that the mixture weighed less than 28 grams, the
penalty range could have increased only to a Class A misdemeanor (Texas Health and Safety Code
§ 481.104(4)), or to a first-degree felony if the promethazine had been entirely absent (Texas Health
and Safety Code § 481.102(3)(A)(codeine not listed in Penalty Group 3 or 4)).  There may be
instances in which a defendant may very much want to know the level of the non-narcotic active
ingredient.  If the state charges a first-degree felony, the defendant may seek a charge on Class B
misdemeanor because of the presence of a non-narcotic active ingredient in a sufficient proportion
to confer on the mixture in question "valuable medicinal qualities other than those possessed by the
narcotic drug alone."  In such a case, the failure of the state to prove that the proportion of the non-narcotic was insufficient to confer such medicinal qualities might entitle the defendant to an
instruction on the lesser-included offense.

	I agree that, while  the state proved the presence of promethazine, it did not prove the element
of the offense that requires a therapeutic level of promethazine, but in this case, that failure accrued
to the benefit of the appellant.  The presence of promethazine saved appellant from a felony penalty
range.  If the chemist had, in fact, ascertained the proportion of promethazine, it may have been too
small to satisfy the statute and thereby enable the state to seek a greater punishment.  

	I join the judgment of the Court.


Filed: January 28, 2009

Publish
1.   http://www.umm.edu/ency/article/003430.htm (University of Maryland Medical Center);
http://www.scripps.org/articles/3156-therapeutic-drug-levels (Scripps Health-San Diego). 


